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                      UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO

 UNITED STATES OF AMERICA,                     )   Case No. CR-12-155-S-BLW
                                               )
              Plaintiff,                       )
                                               )   PRELIMINARY ORDER OF
 vs.                                           )   FORFEITURE
                                               )
 FABIAN JORDANO BELTRAN,                       )
                                               )
              Defendant.                       )
                                               )
                                               )
                                               )
                                               )

       This matter having come before the Court on Plaintiff’s Motion for

Preliminary Order of Forfeiture (ECF No. 382), and based upon the record and

filings herein, and the Rule 11 Plea Agreement (filed under seal) which was entered

into between FABIAN JORDANO BELTRAN and the United States of America, by

which the defendant pled guilty to a violations of 18 U.S.C. § 924(c)(1) and (2), said

plea providing for forfeiture of any and all interests the defendant possessed in the

Subject Property pursuant to 18 U.S.C. § 924(d) and made applicable pursuant to 28

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U.S.C. § 2461(c);

      NOW, THEREFORE, THE COURT ORDERS that the United States’

Motion for Preliminary Order of Forfeiture (ECF No. 382) is GRANTED and the

defendant shall forfeit to the United States any property involved in or used in

commission of the defendant’s violations of 18 U.S.C. § 924(c)(1) and (2), to

include, but not be limited to, the following property (hereinafter “Subject

Property”):

      Subject Property:

      1. One (1) Llama 380 caliber semi-automatic pistol, serial number 789468

         and ammunition;

      2. One (1) Davis Industries 22 caliber Derringer pistol, serial number

         491605;

      3. One (1) Davis Industries 22 caliber Derringer pistol, serial number

         241111; and

      4. Thirty (30) Hornaby 22 caliber bullets.

      The Court has determined, based on the guilty plea to Count Seven of the

Superseding Indictment as set out in the defendant’s plea agreement, that the above

property is subject to forfeiture pursuant to 18 U.S.C. § 924(d), and made applicable

pursuant to 28 U.S.C. § 2461(c), and that the United States has established the

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requisite nexus between such property and such offense.

      The United States Attorney General (or a designee) is hereby authorized to

seize the Subject Property, in accordance with Rule 32.2(b)(3) of the Federal Rules

of Criminal Procedure.

      The United States is further hereby authorized, pursuant to Fed. R. Crim. P.

32(b)(3) and 32.2(c)(1)(B) to conduct any discovery, including depositions,

necessary to (1) identify, locate or dispose of the property ordered forfeited herein,

any property traceable thereto, or any property that may be forfeited as substitute

assets; and (2) to expedite ancillary proceedings related to any third-party interests

claimed pursuant to Section 853(n) herein. Such discovery shall be in accordance

with the Federal Rules of Civil Procedure.

      The United States Attorney General (or a designee) is hereby authorized to

commence any applicable proceeding to comply with statutes governing third-party

rights, including giving notice of this Order.

      The United States shall publish on an official government internet site

(www.forfeiture.gov) for at least thirty (30) consecutive days, notice of the order and

its intent to dispose of the Subject Property in such a manner as the United States

Attorney General (or a designee) may direct, as required by Rule

G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty or Maritime Claims and

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Asset Forfeiture Actions. The United States may also, to the extent practicable,

provide written notice to any person known to have an alleged interest in the

Subject Property.

       Any person, other than the above-named defendant, asserting a legal interest

in the Subject Property may, within sixty (60) days of the first publication date of the

notice or within thirty (30) days of receipt of notice, whichever is earlier, petition the

court for a hearing without a jury to adjudicate the validity of her alleged interest in

the Subject Property, and for an amendment of the order of forfeiture, pursuant to 21

U.S.C. § 853(n)(6), and made applicable pursuant to 28 U.S.C. § 2461(c).

       Any petition filed by a third party asserting an interest in the Subject Property

shall be signed by the petitioner under penalty of perjury and shall set forth the

nature and extent of the petitioner's right, title, or interest in the Subject Property, the

time and circumstances of the petitioner's acquisition of the right, title or interest in

the Subject Property, any additional facts supporting the petitioner's claim and the

relief sought.

       The United States shall have clear title to the Subject Property following the

Court's disposition of all third-party interests, or, if none, following the expiration of

the period provided in pursuant to 21 U.S.C. § 853(n)(2), and made applicable

pursuant to 28 U.S.C. § 2461(c) for the filing of third party petitions.

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      Pursuant to Fed. R. Crim. P. 32.2(b)(4), this Preliminary Order of Forfeiture is

final as to the defendant at sentencing and will be made part of the sentence and

included in the judgment.

      This Court shall retain jurisdiction to enforce this Order, and to amend it as

necessary, pursuant to Fed. R. Crim. P. 32.2(e).



                                             DATED: January 22, 2013


                                             _________________________
                                             B. Lynn Winmill
                                             Chief Judge
                                             United States District Court




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